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  1   ERICA J. VAN LOON - State Bar No. 227712
      evanloon@glaserweil.com
  2   GLASER WEIL FINK HOWARD
        AVCHEN & SHAPIRO LLP
  3   10250 Constellation Boulevard, 19th Floor
      Los Angeles, California 90067
  4   Telephone: (310) 553-3000
      Facsimile: (310) 556-2920
  5
      JOHN G. JACKSON (pro hac vice app. to be filed)
  6   jjackson@chamblisslaw.com
      CHAMBLISS, BAHNER & STOPHEL, P.C.
  7   Liberty Tower
      605 Chestnut Street, Suite 1700
  8   Chattanooga, TN 37450
      Telephone: (423) 756-3000
  9   Facsimile: (423) 265-9574
 10
      Attorneys for Defendant
 11   Deux Ron, Inc.
 12                           UNITED STATES DISTRICT COURT
 13                          CENTRAL DISTRICT OF CALIFORNIA
 14                                     WESTERN DIVISION
 15   WEBMAGIC VENTURES, LLC, a                         CASE NO.: 2:18-cv-5933-PA-AS
      California limited liability company,
 16                                                     Hon. Percy Anderson
                           Plaintiff,
 17                                                     DECLARATION OF RON
      v.                                                HENSLEY IN SUPPORT OF
 18                                                     DEFENDANTS' MOTION TO
      DEUX RON, INC., a Tennessee                       DISMISS PURSUANT TO
 19   corporation; RON HENSLEY, an                      FED.R.CIV.P. 12(B)(2), OR
      individual; and ERIC HENSLEY, an                  ALTERNATIVELY, TO
 20   individual,                                       TRANSFER VENUE UNDER 28
                                                        U.S.C. §§ 1404, 1406, 1631
 21                        Defendants.
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      DECLARATION OF RON HENSLEY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PURSUANT TO
      FED.R.CIV.P. 12(B)(2), OR ALTERNATIVELY, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
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  1         I, Ron Hensley, declare as follows:
  2         1.     I am the president of Defendant Deux Ron, Inc. ("Deux Ron"). I am
  3   making this declaration in support of Defendants' Motion to Dismiss, or in the
  4   alternative, to Transfer Venue in the above-referenced matter. Unless otherwise
  5   stated, I have personal and first-hand knowledge of the facts set forth in this
  6   declaration, and I could and would testify competently to such facts if called as a
  7   witness.
  8         2.     Deux Ron is an entity organized and existing under the laws of the State
  9   of Tennessee with its principal place of business located in Gatlinburg, Tennessee.
 10         3.     Deux Ron owns and operates a family entertainment center ("FEC")
 11   located in Gatlinburg, Tennessee.
 12         4.     Deux Ron's FEC in Gatlinburg, Tennessee is the only physical location
 13   in the United States where Deux Ron offers goods and services.
 14         5.     Deux Ron's FEC provides entertainment services, namely an
 15   entertainment complex for amusement games, food, live performances and recreation,
 16   where every amusement game gives the participant e-tickets that can be redeemed for
 17   the ultimate goal of receiving prizes.
 18         6.     To the best of my knowledge, Deux Ron has never directed any of its
 19   marketing, advertising or promotional activities at residents of California.
 20         7.     To the best of my knowledge, Deux Ron has never done business in
 21   California in connection with the ARCADIA mark.
 22         8.     ARCADIA™ Play Cards can be bought online at Deux Ron's website,
 23   www.gatlinburgarcade.com. They are never sent outside of Tennessee but instead
 24   must be picked up at the Space Needle ticket office in Gatlinburg, Tennessee and can
 25   only be used to access services at Deux Ron's Gatlinburg, Tennessee FEC.
 26         9.     Over the past ten years, Deux Ron has sold only one Arcadia™ Play
 27   Card online to a California resident, out of a total of 4,607 online orders (i.e., .02%),
 28   based on a review of Deux Ron's records. As explained above, Deux Ron would have
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      DECLARATION OF RON HENSLEY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PURSUANT TO
      FED.R.CIV.P. 12(B)(2), OR ALTERNATIVELY, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
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  1   furnished the Play Card to the customer in Gatlinburg, Tennessee, and it would never
  2   have been sent to California or elsewhere.
  3         10.     Deux Ron has been using the mark ARCADIA continuously in the East
  4   Tennessee area and on the internet since at least 2008.
  5         11.     To the best of my knowledge, neither Deux Ron, Eric Hensley nor I
  6   knew of Plaintiff's existence prior to the time Deux Ron filed its application to
  7   register the mark ARCADIA as a trademark in the United States Patent and
  8   Trademark Office in mid-2017.
  9         12.     Until Plaintiff filed its Opposition to Deux Ron's application to register
 10   the ARCADIA mark toward the end of 2017, to the best of my knowledge, neither
 11   Deux Ron, Eric Hensley nor I knew that Plaintiff owns any domain names that
 12   include the word "Arcadia."
 13         13.     Deux Ron only uses the mark ARCADIA in connection with services
 14   that are performed in Gatlinburg, Tennessee.
 15         14.     Deux Ron does not provide any services in the State of California.
 16         15.     Deux Ron does not have an office in California.
 17         16.     Deux Ron does not own or lease any real property in California.
 18         17.     Deux Ron does not maintain any bank accounts in California.
 19         18.     Deux Ron is not registered to do business as a foreign corporation in
 20   California.
 21         19.     Deux Ron does not have an agent for the service of process in California.
 22         20.     Deux Ron has not registered any marks in California.
 23         21.     Deux Ron does not hold meetings of its officers, directors or managers in
 24   California.
 25         22.     I am a resident of Tennessee.
 26         23.     I, as an individual, have never conducted business in California, have
 27   never advertised, marketed, promoted, offered to sell or sold goods or services in
 28   California, and as an individual have never used the ARCADIA mark anywhere.
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      DECLARATION OF RON HENSLEY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PURSUANT TO
      FED.R.CIV.P. 12(B)(2), OR ALTERNATIVELY, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
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   1         24.    I neither own nor control any real or personal property in California.
   2         25.    I, as an individual, am not seeking trademark protection for any
   3   trademark, nor have I ever sought such protection.
   4         26.    I have not visited the State of California in over forty (40) years.
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       DECLARATION OF RON HENSLEY IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS PURSUANT TO
       FED.R.CIV.P. 12(B)(2), OR ALTERNATIVELY, TO TRANSFER VENUE UNDER 28 U.S.C. §§ 1404, 1406, 1631
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